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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           CR. NO. 06-00198 SOM
                               )
                Plaintiff,     )           ORDER DENYING MICHA
                               )           TERRAGNA’S MOTION TO
           vs.                 )           RECONSIDER (DOCUMENT NUMBER
                               )           329) AND DENYING KEVIN
 KEVIN BRUNN (05);             )           BRUNN’S SUBSTANTIVE JOINDER
 MICHA TERRAGNA (06),          )           (DOCUMENT NUMBER 342)
                               )
                Defendants.    )
 _____________________________ )

                   ORDER DENYING MICHA TERRAGNA’S
           MOTION TO RECONSIDER (DOCUMENT NUMBER 329) AND
  DENYING KEVIN BRUNN’S SUBSTANTIVE JOINDER (DOCUMENT NUMBER 342)

 I.         INTRODUCTION

            Defendants Micha Terragna and Kevin Brunn filed

 separate motions to suppress evidence (Docket Nos. 130 and 132),

 claiming that their Fifth Amendment rights were violated when

 they were not informed of their Miranda rights before custodial

 interrogations.     On February 7, 2008, this court held an

 evidentiary hearing on both motions.

            On February 19, 2008, the court granted in part and

 denied in part Brunn’s motion and denied Terragna’s motion.              See

 Order Granting in Part and Denying in Part Brunn’s Motion to

 Suppress; Order Denying Terragna’s Motion to Suppress (Feb. 19,

 2008) (Document Number 220).      Because there was no dispute that

 Miranda warnings had not been provided to Brunn and Terragna,

 this court focused on whether either had been “in custody” when

 making a statement such that Miranda applied.            To the extent
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 Brunn was questioned in his front yard without Miranda warnings

 prior to or contemporaneously with the search of his person

 pursuant to a search warrant, the court suppressed statements he

 made because he was “in custody” at the time he made those

 statements.    However, the court held that, after the search of

 his person was completed, Brunn was free to leave and was no

 longer “in custody.”      Statements Brunn made after the search of

 his person was completed were not suppressed, as the court

 determined that Brunn was no longer “in custody” when those

 statements were made.      The court did not suppress any statement

 made by Terragna, ruling that those statements were not made

 while she was “in custody.”

            On October 10, 2008, Terragna moved for reconsideration

 of the order denying her motion to suppress (Document Number

 329), arguing that the Ninth Circuit’s recent decision in United

 States v. Craighead, 539 F.3d 1073 (9th Cir. 2008), constitutes

 an intervening change in the law under which her statements must

 be deemed to have been made while she was “in custody.”                 On

 October 15, 2008, Brunn filed a substantive joinder, similarly

 arguing that, under Craighead, the statements he made were also

 made while he was “in custody.”        Although Craighead clarified the

 factors this court is to consider in determining whether a person

 is “in custody” while being questioned at his or her home, it




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 does not make a difference here.           Terragna’s motion to reconsider

 and Brunn’s joinder therein are therefore denied.

 II.         ANALYSIS.

             On August 21, 2008, the Ninth Circuit filed its order

 in Craighead, 539 F.3d 1073, examining whether Craighead was “in

 custody” when he made certain statements to law enforcement

 officers during a search of his home and whether Miranda warnings

 were therefore required.      If Craighead was “in custody” at the

 time of his in-home interrogation, his Miranda rights were

 violated.    This court reviewed Craighead within a day or so of

 its filing, paying particular attention to whether it affected

 this court’s rulings in the present case.              Had this court

 determined that Craighead might govern this case, the court would

 have sua sponte requested briefing on the matter.                 However, as

 the court did not so determine, no briefing was requested at the

 time.

             The Ninth Circuit began its analysis in Craighead by

 reiterating that a suspect who has not formally been taken into

 police custody may nevertheless be considered “in custody” for

 purposes of Miranda “if the suspect has been ‘deprived of his

 freedom of action in any significant way.’”                 Craighead, 539 F.3d

 at 1082 (quoting Miranda v. Ariz., 384 U.S. 436, 444 (1966)).                    To

 determine whether a suspect is in custody, courts must examine

 the “totality of the circumstances surrounding the


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 interrogation,” asking “whether a reasonable person in those

 circumstances would ‘have felt he or she was not at liberty to

 terminate the interrogation and leave.’” Craighead, 539 F.3d at

 1082 (quoting Thompson v. Keohane, 516 U.S. 99, 112 (1995)).

            The Ninth Circuit applied these general principles to

 an interrogation of a person conducted within his or her own

 home, noting that such an interrogation may be found to be

 custodial under certain circumstances.             Id. at 1083.       The Ninth

 Circuit recognized that an in-home interrogation presents some

 analytical challenges because, even if a suspect is told that he

 or she is free to leave the home, that person may not have

 anywhere to go.     The court also noted that a reasonable person

 interrogated inside his or her own home may have a different

 understanding of whether he or she is actually free to terminate

 the interrogation.      Id.   At the same time, however, a reasonable

 person interrogated inside his or her own home may suffer from

 less compulsion given the familiar surroundings.                Id.   In other

 words, a person who feels that he or she has nowhere else to go

 may also feel freer to assert his or her rights in the home.

            The Ninth Circuit therefore focused on “the extent to

 which the circumstances of the interrogation turned otherwise

 comfortable and familiar surroundings of the home into a ‘police

 dominated atmosphere.’” Id. (quoting Miranda, 384 U.S. at 445).

 The court stated that such an analysis “is necessarily fact


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 intensive,” id. at 1084 (quoting United States v. Griffen, 7 F.3d

 1512, 1518 (10th Cir. 1993)), and noted that the following

 factors should be considered:

            (1) the number of law enforcement personnel
            and whether they were armed; (2) whether the
            suspect was at any point restrained, either
            by physical force or by threats; (3) whether
            the suspect was isolated from others; and
            (4) whether the suspect was informed that he
            was free to leave or terminate the interview,
            and the context in which any such statements
            were made.

 Id.

            The Ninth Circuit determined that Craighead was “in

 custody” at the time he made his statements in his home.                  With

 regard to the first factor--the number of law enforcement

 personnel and whether they were armed, the Ninth Circuit noted

 that eight law enforcement officers from three different agencies

 entered Craighead’s home, accompanied by two others, including

 Craighead’s superior.      All law enforcement personnel were armed,

 some of them with unholstered weapons, and some with protective

 vests.   Craighead doubted that the person informing him that he

 was free to leave spoke on behalf of all three agencies.                  Under

 these circumstances, the Ninth Circuit thought the first factor

 would lead a “reasonable person in Craighead’s position [to] feel

 that his home was dominated by law enforcement agents and that

 they had come prepared for a confrontation.”                Id. at 1085.




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             With regard to the second factor--whether the suspect

 was at any point restrained, either by physical force or by

 threats, the Ninth Circuit noted that such restraint may be

 physical or through threats or intimidation.                Id.   Although

 Craighead was not handcuffed or physically restrained, he was

 taken to a back storage room in his house for questioning.                   After

 the door to that room was shut behind him, a detective who was

 armed and wearing a “raid vest” leaned against the door, blocking

 the exit.    Under these circumstances, the Ninth Circuit noted

 that it was objectively reasonable for Craighead to have believed

 that he was under guard.      Id. at 1086.

             With regard to the third factor--whether the suspect

 was isolated from others, the court noted that the act of

 removing a suspect from the presence of his or her family,

 friends, or colleagues weighs in favor of finding that a person

 is “in custody” in his or her own home.              Family, friends, or

 colleagues might lend moral support during questioning and might

 deter a suspect from making inculpatory statements.                 Id. at 1087.

 Craighead was isolated from everyone in the back room of his

 house.   His superior, who had come to provide emotional support

 to Craighead, was barred from the room.              These circumstances

 supported the conclusion that Craighead was “in custody.”                  Not

 only was he isolated, he was not free to invite others to the

 storage room of his own house.         Id.


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            With regard to the fourth factor--whether the suspect

 was told that he was free to leave or terminate the interview,

 and the context in which the suspect was told, the court noted

 that such a statement by law enforcement would greatly reduce the

 chance that a suspect would reasonably believe he or she was in

 custody.   Id.    However, the mere recitation of such a statement

 would not automatically render an interrogation non-custodial.

 Id. at 1088.     Although Craighead was told he could leave, the

 Ninth Circuit concluded that he could have reasonably believed

 that he was not free to leave.         As outlined above, eight armed

 officers from three different agencies entered his home, and

 Craighead thought that the one person who told him that he was

 free to leave might not speak for all three agencies.                 This

 thought was buttressed by his isolation in a back storage room in

 which an armed detective in a “raid vest” blocked the door exit.

 The “totality of the circumstances” indicated that Craighead was

 “in custody” at the time he provided his statements in the back

 room of his house.      Id. at 1089-90.

            The Ninth Circuit’s decision in Craighead does not

 justify reconsideration of this court’s order denying Brunn and

 Terragna’s motions to suppress statements they made after the

 search warrants were executed on their persons.                In so ruling,

 this court noted that a “defendant is in custody when, based upon

 a review of all the pertinent facts, a reasonable innocent person


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 in such circumstances would conclude that after brief questioning

 he or she would not be free to leave.”             Conclusion of Law C

 (citing United States v. Wauneka, 770 F.2d 1434, 1438 (9th Cir.

 1985); accord United States v. Hernandez, 476 F.3d 791, 796 (9th

 Cir.)).   In examining the totality of pertinent facts, this court

 looked to “‘the language used by the officers, the physical

 characteristics of the place where the question occurs, the

 degree of pressure applied to detain the individual, the duration

 of the detention, and the extent to which the person was

 confronted with evidence of guilt.’”             Conclusion of Law D

 (quoting United States v. Hernandez, 476 F.3d 791, 796 (9th Cir.

 2007) (quoting United States v. Butler, 249 F.3d 1094, 1099 (9th

 Cir. 2001)); accord United States v. Hayden, 260 F.3d 1062, 1066

 (9th Cir. 2001).    This court’s rulings are consistent with

 Craighead.

            The court suppressed statements made by Brunn during

 the execution of a search warrant on his person.                Brunn was not

 free to leave before or while he was searched.                Any statement

 made by him before or during that search would have therefore

 been made while he was “in custody.”             The court, however,

 declined to suppress statements made by Brunn long enough after

 the search that a reasonable person in his position would have

 known that he was no longer “in custody.”




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             The Ninth Circuit’s Craighead decision does not change

 this court’s analysis regarding whether Brunn was “in custody.”

 The officers initially informed Brunn that he was not under

 arrest and that he would not be in custody when the officers

 left.    See Finding of Fact I.        Brunn was told that he did not

 have to stay on the premises while his house was being searched.

 He was told that he was free to leave or stay so long as he did

 not interfere with the execution of the search warrant on his

 house.    See Finding of Fact P, Z.           To the extent there was

 testimony that Brunn was told otherwise, this court did not find

 that testimony credible.      See Finding of Fact AA, BB, DD;

 Conclusion of Law P.      Although ten law enforcement officers went

 to Brunn’s house to execute the search warrant, and although all

 were armed and some had their weapons out as they approached the

 house, this “police-dominated atmosphere”--the sole Craighead

 factor weighing in favor of a finding that Brunn was “in

 custody”--did not overcome the statements made to Brunn that he

 was not in custody and would not be in custody when the officers

 left.    Brunn was a police officer himself.                 See Finding of Fact

 D.   After he was searched, Brunn was reminded that he could

 leave.    Finding of Fact Z.    Brunn walked over to the carport

 where his friend, a state sheriff, was located and could provide

 moral support, indicating that Brunn was not isolated from others

 who could prevent him from making inculpatory statements.                     See


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 Finding of Fact V, AA.        Although there was some testimony

 indicating that Brunn was told to “stay here,” this court did not

 find that testimony credible.           See Finding of Fact BB.        Nor was

 Brunn physically restrained.        Id.      The totality of these

 circumstances does not overcome the repeated statements to Brunn

 that he was not in custody and would not be in custody when the

 officers left.     Accordingly, the court denies Brunn’s joinder in

 the motion for reconsideration, as he was not “in custody” at the

 time he made statements to officers subsequent to the search of

 his person.

             The court also denies Terragna’s motion for

 reconsideration.        Unlike Brunn, Terragna did not identify any

 statement that she made contemporaneously with the search of her

 person.    Instead, Terragna’s statements were made well after the

 search of her person was completed and she was reminded that she

 was free to leave.        See Finding of Fact Z.          The Ninth Circuit’s

 Craighead decision does not change this court’s conclusion.

 Although Terragna was subject to a “police-dominated atmosphere”

 because ten armed law enforcement officers were at her house, the

 remaining Craighead factors clearly weigh in favor of the

 conclusion that Terragna was not “in custody” when she made her

 statements.

             Even if Terragna was frisked while her person was being

 searched, a fact this court did not find, see Findings of Fact N,


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 W, and X, her statements were made long after that alleged

 frisking, when her movements were not restrained.              See Finding of

 Fact GG.    Terragna was immediately told that she was not under

 arrest and that she would not be under arrest when law

 enforcement personnel left her house.           See Finding of Fact I.

 Terragna was allowed to hand her baby over the fence to a

 neighbor.    After she was reminded that she was free to leave,

 Terragna was allowed to go into the house to get milk for her

 child.    See Finding of Fact EE.       At some point in time, the

 infant was returned to Terragna, and she spent time in her living

 room, feeding the infant.       Terragna freely walked in and out of

 the house, unescorted by law enforcement personnel              Id.

             This court recognizes that, until Terragna’s person was

 searched pursuant to a search warrant, she was not free to leave.

 However, once that search had been completed, she was reminded

 that she was free to leave.       Her subsequent conduct indicates

 that she was not “in custody” when she later her statements.                At

 the hearing on this motion, Terragna argued that she was nervous

 being around so many police officers.           However, that nervousness

 is not supported by the record, as Terragna did not testify at

 the underlying evidentiary hearing about how she was feeling.                At

 most, Special Agent O’Brien testified that Terragna was very

 talkative.    See Finding of Fact FF.        However, the court’s




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 impression of that testimony was that Terragna was being friendly

 with the officers, rather than nervously chatting with them.

             At best, only the first Craighead factor weighs in

 favor of a determination that Terragna was “in custody.”               Under

 the totality of the circumstances, and given the factors listed

 in Craighead, Terragna was not “in custody” when she made her

 statements to law enforcement officers.

 III.        CONCLUSION.

             Under the totality of the circumstances, neither Brunn

 nor Terragna was “in custody” when making the statements to law

 enforcement officers that this court has declined to suppress.

 These statements were made well after the searches of their

 persons were completed and after they were reminded that they

 were free to leave.      Because the factors listed in Craighead,

 when applied to this case, do not render improper this court’s

 conclusion that neither Brunn nor Terragna was “in custody” at




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 the time they made the unsuppressed statements, Terragna’s motion

 for reconsideration and Brunn’s joinder in that motion are

 denied.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, October 20, 2008.




                                              /s/ Susan Oki Mollway
                                             Susan Oki Mollway
                                             United States District Judge




 United States v. Brunn, et al., Cr. No. 06-00198 SOM; ORDER DENYING MICHA
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